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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALLIANZ GLOBAL INVESTORS GMBH, et
 al.,
                               Plaintiffs,
                                                               Case No. 1:18-cv-10364-LGS
vs.

 BANK OF AMERICA CORPORATION, et                               So Ordered.
 al.,
                               Defendants.                     Dated: May 17, 2023
                                                                      New York, New York



      STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
                     PURSUANT TO F.R.C.P. 41(A)(1)(A)(II))

        All Plaintiffs and all the remaining Defendants—i.e., the Bank of America, Barclays,

BNP Paribas, Citigroup, Deutsche Bank, Goldman Sachs, HSBC Bank, JPMorgan, Morgan

Stanley, RBC, RBS, Société Générale, Standard Chartered, and UBS Defendants—through their

respective counsel, hereby stipulate and agree that all claims and causes of action asserted by

Plaintiffs against those Defendants in the above-captioned action are dismissed with prejudice

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each party shall bear

its own costs, expenses, and attorneys’ fees.

        The MUFG Defendants and Credit Suisse Defendants were previously dismissed with

prejudice as a result of similar stipulations. See Dkt. Nos. 837, 1152. For the sake of clarity,

then, with the entry of this order, all claims by all Plaintiffs against all Defendants will have been

fully resolved.
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New York, New York
Dated:     15, 2023




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